





















Opinion issued January 26, 2012.

&nbsp;


 
 
  
  
  
  
  
  
  
  
  
  
  
  
 
 
 

 


&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-11-01001-CV

———————————

union
pacific railroad company, Appellant

V.

george
b. currington, johnny l. davis, and larry l. kirkpatrick, Appellees



&nbsp;



&nbsp;

On Appeal from the 127th District Court 

Harris County, Texas



Trial Court Cause No. 2011-33405

&nbsp;



MEMORANDUM OPINION

Appellant has filed an unopposed motion to dismiss
the appeal.&nbsp; No opinion has issued.&nbsp; Accordingly, we grant the motion and dismiss
the appeal.&nbsp; See Tex. R. App. P. 42.1(a)(1).

We dismiss all other pending motions as moot.&nbsp; We direct the Clerk to issue the mandate
within 10 days of the date of this opinion.&nbsp;
See Tex. R. App. P. 18.1.

PER CURIAM

Panel
consists of Chief
Justice Radack and Justices Higley and Brown.





